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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO: 16-81331-CV-BLOOM

 ERIC ROGERS,

                  Plaintiff,

 vs.

 CHECKERS DRIVE-IN RESTAURANTS, INC.,

             Defendant.
 __________________________________/


                                    NOTICE OF SETTLEMENT

           Plaintiff, ERIC ROGERS (“Plaintiff”), by and through the undersigned

 counsel, hereby notifies this Court that Plaintiff has reached settlement of all

 issues pertaining to his case against Defendant, CHECKERS DRIVE-IN

 RESTAURANTS, INC.

           Plaintiff and Defendant, CHECKERS DRIVE-IN RESTAURANTS, INC., are

 presently preparing a formal settlement agreement for signature and intend to

 file a notice of dismissal with prejudice once the agreement is finalized.

 Plaintiff and        Defendant request twenty (20) days within which to file its

 dismissal documents.




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         Respectfully submitted this 9th of September, 2016.



                                                      /s/ Douglas S. Schapiro
                                                      DOUGLAS S. SCHAPIRO, ESQ.
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                                CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was

 filed electronically using the CM/ECF system on this 9th day of September,

 2016.



                                                      /s/ Douglas S. Schapiro
                                                      DOUGLAS S. SCHAPIRO, ESQ.
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